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                                 EXHIBIT C

                                    Notice
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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

                                                       PROMESA
 In re:                                                Title III

 THE FINANCIAL OVERSIGHT AND                           No. 17 BK 3283-LTS
 MANAGEMENT BOARD FOR PUERTO RICO,
                                                       (Jointly Administered)
          as representative of
                                                       This filing relates to the
 THE COMMONWEALTH OF PUERTO RICO, et al.,              Commonwealth, HTA and ERS.
                                 Debtors.


   NOTICE OF THREE HUNDRED FIFTY-FIRST OMNIBUS OBJECTION (NON-
 SUBSTANTIVE) OF THE COMMONWEALTH OF PUERTO RICO, THE PUERTO
RICO HIGHWAYS AND TRANSPORTATION AUTHORITY, AND THE EMPLOYEES
RETIREMENT SYSTEM OF THE GOVERNMENT OF THE COMMONWEALTH OF
       PUERTO RICO TO PARTIAL DUPLICATE LITIGATION CLAIMS


 IF YOUR CLAIM IS LISTED ON EXHIBIT A TO THE OMNIBUS OBJECTION, THE
 DEBTORS ARE SEEKING TO PARTIALLY DISALLOW YOUR CLAIM BECAUSE
 THE ATTORNEY REPRESENTING YOU IN THE LITIGATION UNDERLYING A
 PORTION OF YOUR PROOF OF CLAIM HAS FILED A PROOF OF CLAIM ON
 BEHALF OF ALL PLAINTIFFS IN SUCH LITIGATION, INCLUDING YOU.
 YOU DO NOT HAVE TO FILE A RESPONSE TO THE OMNIBUS OBJECTION IN
 ORDER TO PROTECT YOUR RIGHTS WITH RESPECT TO THE LITIGATION.
 THE OMNIBUS OBJECTION WILL PRESERVE YOUR CLAIM, AS ASSERTED BY
 THE ATTORNEY REPRESENTING YOU IN THE LITIGATION ON BEHALF OF
 YOU, FOR DETERMINATION AT A LATER DATE AND YOUR ATTORNEY WILL
 RECEIVE NOTICE OF ANY FURTHER PROCEEDINGS.
 THE OMNIBUS OBJECTION SEEKS TO ALTER YOUR RIGHTS WITH RESPECT
 TO THE CLAIMS TO BE DISALLOWED, AS LISTED ON EXHIBIT A. ANY CLAIM
 THAT IS PARTIALLY DISALLOWED WILL BE TREATED AS THOUGHT THE
 DISALLOWED PORTION WERE NEVER FILED.
 IF YOUR CLAIM IS LISTED ON EXHIBIT A, YOU SHOULD READ THIS NOTICE
 CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY. IF YOU DO NOT HAVE
 AN ATTORNEY, YOU MAY WISH TO CONSULT ONE.


       PLEASE TAKE NOTICE THAT, on June 18, 2021, the Commonwealth of Puerto Rico
(the “Commonwealth”), the Puerto Rico Highways and Transportation Authority (“HTA”), and
the Employees Retirement System of the Government of the Commonwealth of Puerto Rico
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(“ERS,” and together with the Commonwealth and HTA, the “Debtors”), by and through the
Financial Oversight and Management Board for Puerto Rico (the “Oversight Board”), as the
Debtors’ sole Title III representative pursuant to section 315(b) of the Puerto Rico Oversight,
Management, and Economic Stability Act (“PROMESA”), 1 filed the Three Hundred Fifty-First
Omnibus Objection (Non-Substantive) of the Commonwealth of Puerto Rico, Puerto Rico
Highways and Transportation Authority, and Employees Retirement System of the Government of
the Commonwealth of Puerto Rico to Partial Duplicate Litigation Claims (the “Omnibus
Objection”) with the United States District Court for the District of Puerto Rico (the “Court”). 2


                                            OVERVIEW
       •   PLEASE CHECK IF YOUR CLAIM(S) IS/ARE LISTED ON EXHIBIT A TO
           THE OMNIBUS OBJECTION.
       •   If your claim(s) is/are NOT listed on Exhibit A, your claim will not be affected
           by the Omnibus Objection, and you DO NOT have to do anything.
       •   If your claim(s) is/are listed as “Claims to Be Partially Disallowed” on Exhibit A to
           the Omnibus Objection, the Debtors are seeking to partially disallow your claim(s)
           because the attorney representing you in the litigation underlying a portion of your
           proof of claim has filed a proof of claim on behalf of all plaintiffs in such litigation,
           including you, as identified on Exhibit A to the Omnibus Objection.
       •   THE OMNIBUS OBJECTION SEEKS TO ALTER YOUR RIGHTS AS TO THE
           PORTION OF YOUR CLAIM IDENTIFIED IN THE COLUMN TITLED CLAIMS
           TO BE PARTIALLY DISALLOWED. THE PORTION OF ANY CLAIM THAT IS
           PARTIALLY DISALLOWED WILL BE TREATED AS THOUGH IT WERE
           NEVER FILED.
       •   YOU SHOULD READ THIS NOTICE AND THE OMNIBUS OBJECTION
           CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY. IF YOU DO NOT
           HAVE AN ATTORNEY, YOU MAY WISH TO CONSULT ONE.
       •   Copies of the Omnibus Objection and all other filings in the Title III Cases are
           available free online at https://cases.primeclerk.com/puertorico.
       •   If you have questions, please contact Prime Clerk LLC at (844) 822-9231 (toll
           free for U.S. and Puerto Rico) or (646) 486-7944 (for international callers),
           available 10:00 a.m. to 7:00 p.m. (Atlantic Standard Time) (Spanish available).




1
    PROMESA is codified at 48 U.S.C. §§ 2101-2241.
2
    Capitalized terms used but not defined herein shall have the meanings set forth in the Omnibus
    Objection.


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    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF DEMANDED BY THE OMNIBUS OBJECTION
WITHOUT FURTHER NOTICE OR HEARING.

              IMPORTANT NOTICE PURSUANT TO LOCAL RULE 3007-1

Any party against whom this Omnibus Objection has been served, or any other party to the action
who objects to the relief sought herein, shall serve and file a response to the Omnibus Objection
with the clerk’s office of the United States District Court for the District of Puerto Rico by 4:00
p.m. (Atlantic Standard Time) on July 19, 2021 unless otherwise extended, in writing, by the
Debtors. If no response is filed within the time allowed herein, the Omnibus Objection will be
deemed unopposed and may be granted unless: (1) the requested relief is forbidden by law; (2) the
requested relief is against public policy; or (3) in the opinion of the court, the interest of justice
requires otherwise. If you file a timely response, the Court may schedule a hearing.

         Critical Information for Claimants Choosing to File a Response
        Who is Required to File a Response. Any party who disputes the Omnibus Objection is
required to file a response in accordance with the procedures set forth herein. If a party whose
claim is subject to the Omnibus Objection does not file and serve a response in compliance with
the procedures herein, the Court may grant the Omnibus Objection with respect to such claim
without further notice to the claimant.

       Who is NOT Required to File a Response. If you do not oppose the relief sought in the
Omnibus Objection, then you do not need to file a written response to the Omnibus Objection and
you do not need to appear at the hearing on the Omnibus Objection (described below).
Additionally, the Omnibus Objection only applies to the claims listed on Exhibit A to the Omnibus
Objection, a copy of which is available free online at https://cases.primeclerk.com/puertorico. If
your claim is not listed on Exhibit A to the Omnibus Objection, no response is required.

       Deadline for Filing a Response. Your response will be deemed timely only if it is filed
with the Court and served by 4:00 p.m. (Atlantic Standard Time) on July 19, 2021, unless
otherwise extended, in writing, by the Debtors, or upon written request to the Court and order of
the Court extending the deadline.


                       The deadline for filing and serving a response is
                     4:00 p.m. (Atlantic Standard Time) on July 19, 2021.


       Hearing on the Omnibus Objection. If a response is properly filed and served in
accordance with this notice, a hearing on the Omnibus Objection and the response will be held at
9:30 a.m. (Atlantic Standard Time) on August 4, 2021, before The Honorable Laura Taylor
Swain at the United States District Court for the District of Puerto Rico, 150 Carlos Chardón Street,
Federal Building, San Juan, Puerto Rico 00918-1767. If you file a response to the Omnibus
Objection, then you should plan to appear at the hearing on the Omnibus Objection. The Debtors,



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however, reserve the right, on three (3) business days’ notice, to adjourn the hearing with respect
to the Omnibus Objection and the response.

       The Debtors may file a reply to your response or reply in oral argument at the hearing. The
Debtors are permitted to file their reply no later than seven (7) calendar days before the hearing on
the Omnibus Objection and the response.
 THE COURT WILL ONLY CONSIDER YOUR RESPONSE IF YOUR RESPONSE IS
 FILED AND SERVED BY THE RESPONSE DEADLINE IN ACCORDANCE WITH
 THE INSTRUCTIONS SET FORTH IN THIS NOTICE.

       What to File with a Response. Your response to the Omnibus Objection must contain the
following information.
  (i)      Contact Information. The response must include a name, address, telephone
           number, and email address of either (1) the responding claimant; (2) the claimant’s
           attorney or designated representative to whom the attorneys for the Debtors should
           serve a reply to the response, if any; or (3) the party with authority to reconcile, settle,
           or otherwise resolve the Omnibus Objection on the claimant’s behalf.
  (ii)     Caption. The response must contain a caption stating the name of the Court, the
           names of the Debtors, the case number, the title of the Omnibus Objection to which
           the response is directed, and the proof of claim number(s) related thereto from Prime
           Clerk (which are listed on Exhibit A to the Omnibus Objection and available free
           online at https://cases.primeclerk.com/puertorico).
  (iii)    Reason(s) for Opposing the Omnibus Objection. The response must contain a
           concise statement setting forth the reasons why the Court should not grant the
           Omnibus Objection with respect to your Claim, including the factual and legal bases
           upon which the claimant will rely in opposing the Omnibus Objection.
  (iv)     Supporting Documentation. To the extent not already included with the proof of
           claim, the response should include a copy of any other documentation or other
           evidence of the claim, upon which the claimant will rely in opposing the Omnibus
           Objection; provided, however, that the claimant need not disclose confidential,
           proprietary, or otherwise protected information in the response; and provided, further,
           that the claimant shall disclose to the Debtors all information and provide copies of
           all documents that the claimant believes to be confidential, proprietary, or otherwise
           protected and upon which the claimant intends to rely in support of its claim, subject
           to appropriate confidentiality constraints.
  (v)      Signature. You must sign your response. If you do not sign your response, the clerk
           will not accept it for filing.

IMPORTANT NOTICE REGARDING SENSITIVE INFORMATION CONTAINED IN A
RESPONSE.

          All materials submitted to the Court in response to the Omnibus Objection may be publicly
          filed and accessible to any member of the public. Therefore, the response should not


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      include sensitive documents or information, such as copies of driver’s licenses, passports,
      birth certificates, Social Security cards, sensitive medical information or confidential
      business information. Sensitive information submitted to the Court in response to the
      Omnibus Objection must adhere to the following guidelines:

          •   Social Security numbers and taxpayer identification numbers should be redacted
              (that is, blacked out), except for their last four digits.

          •   Birthdays should be redacted, except for the year of an individual’s birth.

          •   The name of any individual known to be a minor should be redacted, except for that
              person’s initials.

          •   Financial account numbers should be redacted, except for their last four digits.

      Any such sensitive or confidential information upon which a claimant relies in support of
      its claim must be provided directly to counsel for the Debtors, and will be kept confidential.
      You may provide this information by mailing it to the following address:


                     Counsel for the Oversight Board
                     Proskauer Rose LLP
                     Eleven Times Square
                     New York, New York 10036-8299
                     Attn: Martin J. Bienenstock
                     Brian S. Rosen

Where and How to File and Serve a Response. Every response should be filed electronically
with the Court on the docket of In re Commonwealth of Puerto Rico, Case No. 17 BK 3283-LTS.
There are two methods that you can use to file your response:
   1. Online. Registered users of the Court’s case filing system must file their response
      electronically in searchable portable document format.
   2. By Mail. If you are not an attorney who is a registered user of the Court’s case filing
      system, you may file and serve a response by mailing it to the Court’s Clerk’s office,
      the Oversight Board, and the Creditors’ Committee at the following addresses:
                Clerk’s Office
                United States District Court
                Room 150 Federal Building
                San Juan, Puerto Rico 00918-1767

                Counsel for the Oversight Board
                Proskauer Rose LLP
                Eleven Times Square
                New York, New York 10036-8299
                Attn: Martin J. Bienenstock
                Brian S. Rosen


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                 Counsel for the Creditors’ Committee
                 Paul Hastings LLP
                 200 Park Avenue
                 New York, New York 10166
                 Attn: Luc A. Despins
                 James Bliss
                 James Worthington
                 G. Alexander Bongartz

YOUR RESPONSE must be mailed so as to be received by the Clerk’s Office, the Oversight
Board, and the Creditors’ Committee no later than 4:00 p.m. (Atlantic Standard Time) on July
19, 2021, unless otherwise extended by the Debtors, in writing, or upon a written request to the
Court and order of the Court extending the deadline.
In the event that you are unable to file and serve a response online or by mail as specified above,
you may file a response in person at the following address by no later than 4:00 p.m. (Atlantic
Standard Time) on July 19, 2021, unless otherwise extended by the Debtors, in writing, or upon
a written request to the Court and order of the Court extending the deadline:

                 Clerk’s Office
                 United States District Court
                 #150 Chardon Avenue
                 Federal Building
                 San Juan, Puerto Rico 00918

A certificate of service should be included with your response explaining how service was
accomplished.
If you have any questions about filing and serving a response, including questions about the
Court’s case filing system, please contact the Prime Clerk hotline at (844) 822-9231.

Reservation of Rights. NOTHING IN THE OMNIBUS OBJECTION OR THIS NOTICE IS OR
SHALL BE DEEMED TO CONSTITUTE A WAIVER OF ANY RIGHTS OF THE
COMMONWEALTH, COFINA, HTA, ERS, PREPA, PBA, OR ANY OTHER PARTY IN
INTEREST IN THE TITLE III CASES TO DISPUTE ANY CLAIMS, ASSERT
COUNTERCLAIMS, RIGHTS OF OFFSET OR RECOUPMENT, OR DEFENSES, OBJECT TO
CLAIMS (OR OTHER CLAIMS OR CAUSES OF ACTION OF A CLAIMANT) ON ANY
GROUNDS NOT PREVIOUSLY RAISED IN AN OBJECTION, UNLESS THE COURT HAS
ALLOWED A CLAIM OR ORDERED OTHERWISE, OR SEEK TO ESTIMATE ANY CLAIM
AT A LATER DATE. AFFECTED PARTIES WILL BE PROVIDED APPROPRIATE NOTICE
THEREOF AT SUCH TIME.




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                  Additional Resources and Who to Contact with Questions

All documents filed in the Title III Cases, including copies of claims filed using CM/ECF, are
available free online at https://cases.primeclerk.com/puertorico. This website is maintained by
Prime Clerk and includes a searchable database to assist with locating documents.

If you require additional information regarding the Omnibus Objection, the status of your response,
your claim, or this notice, please contact the Prime Clerk hotline at (844) 822-9231 (toll free for
U.S. and Puerto Rico) or (646) 486-7944 (for international callers), available 10:00 a.m. to 7:00
p.m. (Atlantic Standard Time) (Spanish available). Inquiries may also be sent via email to
puertoricoinfo@primeclerk.com.




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                                  ANEXO C

                                  Notificación
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                  TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                       PARA EL DISTRITO DE PUERTO RICO

                                                 PROMESA
 In re:                                          Título III

 JUNTA DE SUPERVISIÓN Y                          Núm. 17 BK 3283-LTS
 ADMINISTRACIÓN FINANCIERA PARA PUERTO
 RICO,                                           (Administrado Conjuntamente)

          como representante del                 La presente radicación guarda
                                                 relación con el ELA, la ACT y el
 ESTADO LIBRE ASOCIADO DE PUERTO RICO et         SRE.
 al.,

                               Deudores.


NOTIFICACIÓN DE LA TRICENTÉSIMA QUINCUAGÉSIMA PRIMERA OBJECIÓN
GLOBAL (NO SUSTANTIVA) DEL ESTADO LIBRE ASOCIADO DE PUERTO RICO,
DE LA AUTORIDAD DE CARRETERAS Y TRANSPORTACIÓN DE PUERTO RICO Y
 DEL SISTEMA DE RETIRO DE LOS EMPLEADOS DEL GOBIERNO DEL ESTADO
  LIBRE ASOCIADO DE PUERTO RICO A RECLAMACIONES PARCIALMENTE
                     DUPLICADAS POR LITIGIOS


 SI SU RECLAMACIÓN APARECE EN EL ANEXO A DE LA OBJECIÓN GLOBAL,
 LOS    DEUDORES   PRETENDEN    DESESTIMAR     PARCIALMENTE SU
 RECLAMACIÓN PORQUE EL ABOGADO QUE LE REPRESENTA EN EL LITIGIO
 QUE SUBYACE A UNA PARTE DE SU EVIDENCIA DE RECLAMACIÓN HA
 RADICADO UNA EVIDENCIA DE RECLAMACIÓN EN NOMBRE DE TODOS LOS
 DEMANDANTES EN DICHO LITIGIO, INCLUIDO USTED.
 USTED NO TIENE QUE RADICAR RÉPLICA A LA OBJECIÓN GLOBAL PARA
 DEFENDER SUS DERECHOS EN RELACIÓN CON EL LITIGIO. LA OBJECIÓN
 GLOBAL PRESERVARÁ SU RECLAMACIÓN, EN LA FORMA EN LA QUE FUE
 RADICADA POR EL ABOGADO QUE LE REPRESENTA EN EL LITIGIO EN SU
 NOMBRE, A EFECTOS DE LA DETERMINACIÓN EN UNA FECHA POSTERIOR, Y
 SU ABOGADO RECIBIRÁ UNA NOTIFICACIÓN RELATIVA A CUALQUIER
 PROCEDIMIENTO ADICIONAL.
 LA OBJECIÓN GLOBAL PRETENDE ALTERAR SUS DERECHOS EN RELACIÓN
 CON LAS RECLAMACIONES QUE HAN DE SER RECHAZADAS, SEGÚN
 APARECEN EN EL ANEXO A. TODA RECLAMACIÓN QUE SEA RECHAZADA
 PARCIALMENTE SE TRATARÁ COMO SI LA PARTE RECHAZADA NUNCA SE
 HUBIERA RADICADO.
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    SI SU RECLAMACIÓN APARECE EN EL ANEXO A, DEBERÁ LEER
    DETENIDAMENTE ESTA NOTIFICACIÓN Y COMENTARLA CON SU ABOGADO.
    SI NO TIENE ABOGADO, ES POSIBLE QUE DESEE ACUDIR A UNO.


        OBSÉRVESE QUE el 18 de junio de 2021, el Estado Libre Asociado de Puerto Rico (el
"ELA"), la Autoridad de Carreteras y Transportación de Puerto Rico (la "ACT") y el Sistema de
Retiro de los Empleados del Gobierno del Estado Libre Asociado de Puerto Rico (el "SRE", y
junto con el ELA y la ACT, los "Deudores"), a través de la Junta de Supervisión y Administración
Financiera para Puerto Rico (la "Junta de Supervisión"), como el único representante de Título III
de los Deudores conforme a la sección 315(b) de la Ley para la Supervisión, Administración y
Estabilidad Económica de Puerto Rico ("PROMESA"), 1 radicaron la Tricentésima quincuagésima
primera objeción global (no sustantiva) del Estado Libre Asociado de Puerto Rico, de la Autoridad
de Carreteras y Transportación de Puerto Rico y del Sistema de Retiro de los Empleados del
Gobierno del Estado Libre Asociado de Puerto Rico a Reclamaciones Parcialmente Duplicadas
por Litigios (la "Objeción Global") ante el Tribunal de Distrito de los Estados Unidos para el
Distrito de Puerto Rico (el "Tribunal"). 2


                                            SÍNTESIS
       •   COMPRUEBE SI SU(S) RECLAMACIÓN(ES) SE MENCIONA(N) EN EL
           ANEXO A DE LA OBJECIÓN GLOBAL.
       •   Si su(s) reclamación(es) NO se menciona(n) en el Anexo A, la Objeción Global no
           afectará a su reclamación, por lo que NO tendrá que realizar ninguna acción.
       •   Si su(s) reclamación(es) se menciona(n) en el Anexo A de la Objeción Global como
           "Reclamaciones que han de ser rechazadas parcialmente", los Deudores solicitan que
           su(s) reclamación(es) sea(n) rechazada(s) parcialmente porque el abogado que lo
           representa a usted en el litigio subyacente a una parte de su evidencia de reclamación
           ha presentado una evidencia de reclamación en nombre de todos los demandantes de
           dicho litigio, incluido usted, como se identifica en el Anexo A de la Objeción Global.
       •   LA OBJECIÓN GLOBAL PRETENDE ALTERAR SUS DERECHOS EN
           RELACIÓN CON LA PARTE DE SU RECLAMACIÓN IDENTIFICADA EN LA
           COLUMNA TITULADA "RECLAMACIONES QUE HAN DE SER
           RECHAZADAS PARCIALMENTE". LA PARTE DE CUALQUIER
           RECLAMACIÓN QUE SEA RECHAZADA PARCIALMENTE SE TRATARÁ
           COMO SI NUNCA SE HUBIERA RADICADO.




1
    PROMESA ha sido codificada en el Título 48 U.S.C., §§ 2101-2241.
2
    Los términos en mayúscula utilizados que no estén definidos en el presente documento tendrán
    el significado que les haya sido atribuido en la Objeción Global.


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     •   DEBERÁ LEER CUIDADOSAMENTE ESTA NOTIFICACIÓN Y LA OBJECIÓN
         GLOBAL Y HABLAR SOBRE ESTAS CON SU ABOGADO. SI NO TIENE
         ABOGADO, ES POSIBLE QUE DESEE ACUDIR A UNO.
     •   Copias de la Objeción Global, y todos los escritos radicados en el marco de los Casos
         de      Título    III,    están   disponibles,      de    manera      gratuita,    en
         https://cases.primeclerk.com/puertorico.
     •   Si tiene alguna pregunta, comuníquese con Prime Clerk LLC llamando al (844)
         822-9231 (número gratuito para Estados Unidos y Puerto Rico) o (646) 486-7944
         (para llamadas desde el extranjero), disponible entre las 10:00 a.m. y las 7:00
         p.m. (AST) (hablamos español).


     SI NO CONTESTA CONFORME A LA PRESENTE NOTIFICACIÓN, EL
TRIBUNAL PODRÁ CONCEDER EL REMEDIO SOLICITADO EN LA OBJECIÓN
GLOBAL SIN OTRA NOTIFICACIÓN NI VISTA.

      NOTIFICACIÓN IMPORTANTE CONFORME A LA REGLA LOCAL 3007-1

Cualquiera de las partes a la que se haya notificado la presente Objeción Global, o cualquier otra
parte de la acción que objete al remedio aquí solicitado, deberá radicar y enviar una réplica a la
Objeción Global ante la secretaría del Tribunal de Distrito de los Estados Unidos para el Distrito
de Puerto Rico antes de las 04:00 p.m. (AST) del 19 de julio de 2021, salvo extensión por escrito
por parte de los Deudores. Si no se radica ninguna réplica en el plazo mencionado, se considerará
que no hay oposición a la Objeción Global, por lo que esta podrá ser concedida, salvo que: 1) el
remedio solicitado esté legalmente prohibido; 2) el remedio solicitado sea contrario al orden
público; o 3) a criterio del Tribunal, el interés de la justicia exija otra cosa. Si radica una réplica
en los plazos establecidos, el Tribunal podrá convocar una vista.

  Información muy importante para los Reclamantes que elijan radicar una
                                réplica
        Quién tiene la obligación de radicar una réplica. Cualquiera de las partes que impugne
la Objeción Global tiene la obligación de radicar una réplica de conformidad con los
procedimientos aquí establecidos. Si la parte cuya reclamación quede sujeta a la Objeción Global
no radica ni notifica una réplica de conformidad con los procedimientos aquí establecidos, el
Tribunal podrá conceder la Objeción Global en relación con tal reclamación sin más notificaciones
al reclamante.

        Quién NO tiene la obligación de radicar una réplica. Si usted no se opone al remedio
solicitado en la Objeción Global, no tendrá que radicar ninguna réplica por escrito a la Objeción
Global ni tendrá que comparecer en la vista sobre la Objeción Global (según se explica abajo).
Además, la Objeción Global solo se aplica a las reclamaciones mencionadas en el Anexo A de la
Objeción Global, cuya copia está disponible en línea, de manera gratuita, en
https://cases.primeclerk.com/puertorico. Si su reclamación no se menciona en el Anexo A de la
Objeción Global, no será necesario radicar ninguna réplica.

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       Fecha límite para radicar una réplica. Su réplica se considerará radicada dentro de los
plazos establecidos solo si la radica ante el Tribunal y la notifica antes de las 04:00 p.m. (AST)
del 19 de julio de 2021, salvo extensión por escrito por parte de los Deudores o previa solicitud
por escrito dirigida al Tribunal y una orden del Tribunal que extienda la fecha límite.


             La fecha límite para radicar y notificar una réplica se cumple a las
                          04:00 p.m. (AST) del 19 de julio de 2021.


        Vista sobre la Objeción Global. Si se radica y notifica una réplica de manera adecuada
conforme a la presente notificación, se celebrará una vista sobre la Objeción Global y la réplica a
las 09:30 a.m. (AST) del 4 de agosto de 2021 ante su señoría, Laura Taylor Swain, en el Tribunal
de Distrito de los Estados Unidos para el Distrito de Puerto Rico, 150 Carlos Chardón Street,
Federal Building, San Juan, Puerto Rico 00918-1767. Si radica una réplica a la Objeción Global,
deberá planear comparecer en la vista sobre la Objeción Global. Sin embargo, los Deudores se
reservan el derecho, previa notificación con tres (3) días hábiles de antelación, a paralizar la vista
en relación con la Objeción Global y la réplica.

        Los Deudores podrán radicar una contestación a su réplica o contestación en un alegato
oral durante la vista. Los Deudores podrán radicar su contestación en un plazo máximo de siete
(7) días naturales antes de la celebración de la vista sobre la Objeción Global y la réplica.
 EL TRIBUNAL SOLO TENDRÁ EN CONSIDERACIÓN SU RÉPLICA SI ESTA SE
 RADICA Y NOTIFICA ANTES DE LA FECHA LÍMITE PARA RESPONDER DE
 CONFORMIDAD CON LAS INSTRUCCIONES ESTABLECIDAS EN LA PRESENTE
 NOTIFICACIÓN.

        Lo que hay que radicar con la réplica. Su réplica a la Objeción Global deberá contener
la siguiente información:
  (i)     Datos de contacto. La réplica deberá contener el nombre, la dirección, el número
          de teléfono y la dirección de correo electrónico 1) del reclamante que responda; 2)
          del abogado o representante designado del reclamante al que los abogados de los
          Deudores deban notificar una contestación a la réplica, en su caso; o 3) de la parte
          con potestad para reconciliar, llegar a un acuerdo o de otro modo resolver la Objeción
          Global en nombre del reclamante.
  (ii)    Epígrafe. La réplica deberá contener un epígrafe que refleje el nombre del Tribunal,
          los nombres de los Deudores, el número de procedimiento, el Título de la Objeción
          Global con la que guarde relación la réplica, y el/los número(s) de las evidencias de
          reclamaciones relacionados de Prime Clerk (que se mencionan en el Anexo A de la
          Objeción Global y están disponibles en línea, de manera gratuita, en
          https://cases.primeclerk.com/puertorico).
  (iii)   Motivo(s) para oponerse a la Objeción Global. La réplica deberá contener una
          declaración concisa que establezca los motivos por los que el Tribunal no deba
          conceder la Objeción Global en relación con su Reclamación, incluidas las bases de


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          hecho y de derecho que el reclamante vaya a invocar al oponerse a la Objeción
          Global.
  (iv)    Documentación justificativa. En la medida en que ya no esté incluida en la
          evidencia de reclamación, la réplica deberá contener una copia de cualquier otra
          documentación u otras evidencias relativas a la reclamación que el reclamante vaya
          a invocar al oponerse a la Objeción Global; con la salvedad de que el reclamante no
          tendrá que revelar en la réplica información confidencial, reservada o protegida de
          cualquier otra forma; y también con la salvedad de que el reclamante revelará a los
          Deudores toda la información y proporcionará copias de la totalidad de los
          documentos que considere que son confidenciales, reservados o protegidos de
          cualquier otra forma y que tenga la intención de invocar en apoyo de su reclamación,
          con sujeción a las restricciones de confidencialidad pertinentes.
  (v)     Firma. Usted deberá firmar su réplica. Si no lo hace, el secretario no aceptará la
          réplica a efectos de su radicación.

NOTIFICACIÓN IMPORTANTE SOBRE INFORMACIÓN SENSIBLE CONTENIDA
EN LAS RÉPLICAS.

         Todos los materiales sometidos al Tribunal en respuesta a la Objeción Global podrán
         radicarse públicamente y quedar accesibles para la población en general. En consecuencia,
         la réplica no debe incluir documentos ni información sensibles; por ejemplo, copias de
         licencias de conducir, pasaportes, partidas de nacimiento, tarjetas del Seguro Social,
         información médica sensible o información comercial confidencial. La información
         sensible sometida al Tribunal en respuesta a la Objeción Global debe cumplir con las
         siguientes directrices:

            •   Los números del Seguro Social y los números de identificación contributiva deben
                ocultarse (esto es, tacharse), salvo los últimos cuatro dígitos.

            •   Los días de cumpleaños deben ocultarse, salvo el año de nacimiento de la persona.

            •   El nombre de cualquier persona que se sepa que es menor de edad debe ocultarse,
                salvo las letras iniciales de la persona.

            •   Los números de cuentas financieras deben ocultarse, salvo los últimos cuatro
                dígitos.

         Dicha información sensible o confidencial que los reclamantes invoquen en apoyo de su
         reclamación debe proporcionarse directamente al abogado de los Deudores, y se mantendrá
         en confidencialidad. Usted podrá proporcionar esta información enviándola por correo a la
         siguiente dirección:


                       Abogado de la Junta de Supervisión (Counsel for the Oversight Board)
                       Proskauer Rose LLP
                       Eleven Times Square


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                      New York, New York 10036-8299
                      Attn: Martin J. Bienenstock
                      Brian S. Rosen

Dónde y cómo radicar y notificar una réplica. Todas las réplicas deberán radicarse de forma
electrónica ante el Tribunal con el nombre de expediente In re: Estado Libre Asociado de Puerto
Rico, Caso núm. 17 BK 3283-LTS. Hay dos métodos que puede utilizar para radicar su réplica:
   1. En línea. Los usuarios inscritos en el sistema de radicación de casos del Tribunal
      deberán radicar su réplica de forma electrónica en un formato pdf susceptible de
      búsqueda.
   2. Por correo postal. Si usted no es un abogado que sea usuario inscrito en el sistema de
      radicación de casos del Tribunal, podrá radicar y notificar una réplica por correo postal
      dirigida a la Secretaría del Tribunal, a la Junta de Supervisión y al Comité de
      Acreedores a las siguientes direcciones:
                 Secretaría (Clerk’s Office)
                 Tribunal de Distrito de los Estados Unidos (United States District Court)
                 Sala 150 Edificio Federal (Federal Building)
                 San Juan (Puerto Rico) 00918-1767

                 Abogado de la Junta de Supervisión (Counsel for the Oversight Board)
                 Proskauer Rose LLP
                 Eleven Times Square
                 New York, New York 10036-8299
                 Attn: Martin J. Bienenstock
                 Brian S. Rosen


                 Abogados del Comité de Acreedores (Counsel for the Creditors’ Committee)
                 Paul Hastings LLP
                 200 Park Avenue
                 New York, New York 10166
                 Attn: Luc A. Despins
                 James Bliss
                 James Worthington
                 G. Alexander Bongartz

SU RÉPLICA deberá enviarse por correo para ser recibida por la Secretaría, la Junta de
Supervisión y el Comité de Acreedores a más tardar a las 04:00 p.m. (AST) del 19 de julio de
2021, salvo extensión por escrito por parte de los Deudores o previa solicitud por escrito dirigida
al Tribunal y una orden del Tribunal que extienda la fecha límite.
Si no puede radicar y notificar una réplica en línea o por correo postal, según se especificó
anteriormente, podrá radicar una réplica en persona en la siguiente dirección a más tardar a las
04:00 p.m. (AST) del 19 de julio de 2021, salvo extensión por escrito por parte de los Deudores
o previa solicitud por escrito dirigida al Tribunal y una orden del Tribunal que extienda la fecha
límite:


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                 Secretaría (Clerk’s Office)
                 Tribunal de Distrito de los Estados Unidos (United States District Court)
                 #150 Avenida Chardón
                 Edificio Federal (Federal Building)
                 San Juan (Puerto Rico) 00918

Su réplica deberá incluir un certificado de notificación que indique la forma en la que se ha
efectuado la notificación.
Si tiene alguna pregunta sobre cómo radicar y notificar una réplica, incluidas preguntas sobre el
sistema de radicación de casos del Tribunal, comuníquese con Prime Clerk llamando al número
directo (844) 822-9231.

Reserva de derechos. NINGUNA DISPOSICIÓN CONTENIDA EN LA OBJECIÓN GLOBAL
O EN LA PRESENTE NOTIFICACIÓN CONSTITUYE NI SE CONSIDERARÁ QUE
CONSTITUYA UNA RENUNCIA A CUALESQUIERA DERECHOS DEL ELA, COFINA, LA
ACT, EL SRE, LA AEE, LA AEP O DE CUALQUIER OTRA PARTE INTERESADA EN
RELACIÓN CON LOS CASOS DE TÍTULO III, A IMPUGNAR CUALESQUIERA
RECLAMACIONES; A HACER VALER CONTRARRECLAMACIONES, DERECHOS A
COMPENSACIÓN O RECUPERACIÓN, O CONTESTACIONES; A OBJETAR A LAS
RECLAMACIONES (O A OTRAS RECLAMACIONES O CAUSAS RADICADAS DE UN
RECLAMANTE) O A CUALESQUIERA MOTIVOS QUE NO SE HAYAN ALEGADO
PREVIAMENTE EN UNA OBJECIÓN, SALVO QUE EL TRIBUNAL HAYA CONCEDIDO
UNA RECLAMACIÓN O HAYA ORDENADO OTRA COSA; O A SOLICITAR QUE SE
ESTIME CUALQUIER RECLAMACIÓN EN EL FUTURO. A SU DEBIDO TIEMPO, LAS
PARTES AFECTADAS RECIBIRÁN LA NOTIFICACIÓN PERTINENTE DE TODO ELLO.



    Recursos adicionales y con quién comunicarse en el caso de que tenga que formular
                                        preguntas

Todos los documentos radicados en el marco de los Casos de Título III, incluidas copias de las
reclamaciones radicadas utilizando CM/ECF, se encuentran disponibles en línea, de manera
gratuita, en https://cases.primeclerk.com/puertorico. El mantenimiento de dicho sitio web lo
realiza Prime Clerk; el sitio web incluye una base de datos que permite efectuar búsquedas y que
ayuda a localizar documentos.

Para obtener información adicional sobre la Objeción Global, el estado de su réplica, su
reclamación o la presente notificación, comuníquese con Prime Clerk llamando a su número
directo (844) 822-9231 (número gratuito para Estados Unidos y Puerto Rico) o al (646) 486-7944
(para llamadas desde el extranjero), disponibles entre las 10:00 a.m. y las 07:00 p.m. (AST)
(hablamos español). También podrá enviar consultas a la siguiente dirección de correo electrónico:
puertoricoinfo@primeclerk.com.




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